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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL


Case No.          CV 10-00124 DDP (JEMx)                                 Date: December 12, 2016

Title:    SECURITIES AND EXCHANGE COMMISSION -v- NEWPOINT FINANCIAL
          SERVICES, INC. et al
==========================================================================
PRESENT: HONORABLE DEAN D. PREGERSON, JUDGE

                  Patricia Gomez                                   Maria Bustillos
                  Courtroom Deputy                                 Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                 ATTORNEYS PRESENT FOR DEFENDANTS:

John B. Bulgozdy


James H. Donell, receiver
Byron Z. Moldo, att for receiver


PROCEEDINGS:                 MOTION FOR COMPENSATION BY RECEIVER (DOCKET
                             NUMBER 535)


          Court and counsel confer as reflected on the record. The MOTION FOR
COMPENSATION (Dkt. No. 535) is GRANTED.




                                                                                      :   14
                                                  Initials of Preparer               PG



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